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                            CASE NO. 15-51164

__________________________________________________________________

             IN THE UNITED STATES COURT OF APPEALS
                      FOR THE FIFTH CIRCUIT
                    __________________________

                      UNITED STATES OF AMERICA

                             Plaintiff - Appellee

                                      v.

CRISTOBAL VELASQUEZ, also known as Little Chris; RAUL RODRIGUEZ,
also known as Fat Boy; GEORGE SANCHEZ, also known as Curious; MIKE
CASSIANO

                       Defendants - Appellants
__________________________________________________________________

            On appeal from the United States District Court for the
                 Western District of Texas, Del Rio Division
                        No. DR:11-CR-01781-AM-3
                           Honorable Alia Moses
                          ____________________

                           RECORD EXCERPTS



                                    CASE J. DARWIN
                                    Texas Bar No. 24059649
                                    Law Office of Case J. Darwin, Inc.
                                    Attorney for the appellant
                                    14622 Jones Maltsberger, Bld. A
                                    San Antonio, TX 78247
                                    Tel: (210) 630-4780
                                    Fax: (210) 855-7334
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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on this 13 day of June, 2017, I electronically filed the

foregoing document with the Clerk of the Court by using the CM/ECF system,

which will send a notice of electronic filing to the following e-mail address:

joseph.Gay@usdoj.gov.

        Signed this 13 day of June, 2017.



                                                                    /s/ Case J. Darwin___________
                                                                    CASE J. DARWIN




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